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                  UNITED STATES DISTRICT COURT
                 MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                 No. 3:24-CR-180

            V.                           (Judge Munley)

KRYSTY HORTER,                           (electronically filed)
                         Defendant

                              PLEA AGREEMENT

     The following Plea Agreement is entered by the United States

Attorney for the Middle District of Pennsylvania and the above­

captioned defendant. Any reference to the United States or to the

Government in this Agreement shall mean the Office of the United

States Attorney for the Middle District of Pennsylvania.

A. Violation(s), Penalties, and Dismissal of Other Counts

    1.   Guilty plea. The defendant agrees to plead guilty to Count 3 of

         the Indictment, which charges the defendant with a violation of

         Title 18, United States Code, §933(a)(3), Firearms Trafficking

         Conspiracy. The maximum penalty for that offense is

         imprisonment for a period of 15 years, a fine of $250,000, a

         maximum term of supervised release of 3 years, which shall be

         served at the conclusion of, and in addition to, any term of
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   imprisonment, as well as the costs of prosecution,

   imprisonment, probation, or supervised release ordered, denial

   of certain federal benefits, and an assessment in the amount of

   $100. At the time the guilty plea is entered, the def,endant shall

   admit to the Court that the defendant is, in fact, guilty of the

   offense charged in that count. After sentencing, the United

   States will move for dismissal of any remaining counts of the

   Indictment. The defendant agrees, however, that the United

   States ffi&y, at its sole election, reinstate any dismissed charges,

  or seek additional charges, in the event that any guilty plea

  entered or sentence imposed pursuant to this Agreement is

  subsequently vacated, set aside, or invalidated by any court.

  The defendant further agrees to waive any defenses to

  reinstatement of any charges, or to the filing of additional

  charges, based upon laches, the assertion of speedy trial rights,

  any applicable statute of limitations, or any other ground. The

  calculation of time under the Speedy Trial Act for when trial

  must commence is tolled as of the date of the defendant's
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       signing of this Agreement, until either (a) the defendant pleads

       guiltyi or (b) a new date is set by the Court for commencement

       of trial.

2. Term of Supervised Release. The defendant also understands
       that the Court may impose a term of supervised release

       following any sentence of imprisonment exceeding one year, or

       when required by statute. The court may require a term of

       supervised reLease in any other case. In addition, the defendant

       understands that as a condition of any term of supervised

       release or probation, the Court must order that the defendant

       cooperate in the collection of a DNA sample if the collection of a

       sample is so authorized by law.

?         Fu       r Prosecu tion. Exceot Tax haree s. The United

      States Attorney's Office for the Middle District of Pennsylvania

      agrees that it will not bring any other criminal charges against

      the defendant directly arising out of the defendant's

      involvement in the offense described above. However, nothing


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       in this Agreement will lirnit prosecution for criminal tax

       charges, if any, arising out of those offenses.

B. Fines and Assessments
   4. Fine. The defendant understands that the Court may impose a
       fine pursuant to the Sentencing Reform Act of 1984. The willful

       failure to pay any fine imposed by the Court, in full, may be

       considered a breach of this Plea Agreement. Further, the

       defendant acknowledges that willful failure to pay the fine may

       subject the defendant to additional criminal violations and civil

      penalties pursuant to Title 18, United States Code, S 8611, et

      seq

   5. Alternative Fine. The defendant understands that under the
      alternative fine section of Title 18, United States Code, S BbZ1,

      the maximum fine quoted above may be increased if the Court

      finds that any person derived pecuniary gain or suffered

      pecuniary loss from the offense and that the maximum fine to

      be imposed, if the Court elects to proceed in this fashion, could



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       be twice the amount of the gross gain or twice the amount of the

       gross loss resulting from the offense.

6. Inmate Financial Responsibilitlr Prolram. If the Court orders a
       fine or restitution as part of the defendant's sentence, and the

       sentence includes a term of imprisonment, the defendant agrees

       to voluntarily enter the United States Bureau of Prisons-

       administered program known as the Inmate Financial

       Responsibility Program, through which the Bureau of Prisons

      will collect up to 5oo/o of the defendant's prison salary, and up to
       50% of the balance of the defendant's inmate account, and apply

      that amount on the defendant's behalf to the payment of the

      outstanding fine and restitution orders.

7   " Special Assessment. The defendant understands that the Court
      will impose a special assessment of $100, pursuant to the
      provisions of Title 18, United States Code, S 8018. No 1ater

      than the date of sentencing, the defendant or defendant's

      counsel shall mail a check in payment of the special assessment

      directly to the c1erk, united states District Court, Middle
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     District of Pennsylvania. If the defendant intentionally fails to

     make this payment, that failure may be treated as a breach of

     this Plea Agreement and may result in further prosecution, the

     filing of additional criminal charges, or a contempt citation.

8.   Collection of Financial Oblisations . In order to facilitate the

     collection of financial obligations imposed in connection with

     this case, the defendant consents and agreesl

     a.   to fully disclose all assets in which the defendant has an

          interest or over which the defendant has control, directly or

          indirectly, including those held by a spouse, nominee, or

          other third partyi

     b. to submit to interviews by the Government regarding the
          defe ndant's financial status i

     C    to submit a complete, accurate, and truthful financial

          statement, on the form provided by the Government, to the

          United States Attorney's Office no later than 14 days

          following entry of the guilty pleai


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       d. whether represented by counsel or not, to consent to contact
           by and communication with the Government, and to waive

           any prohibition against communication with a represented

           party by the Government regarding the defendant's

           financial statusi

       e   to authortze t]rre Government to obtain the defendant's

           credit reports in order to evaluate the defendant's ability to

           satisfy any financial obligations imposed by the Courti and

       t. to submit any fi,nancial information requested by the
           Probation office as directed, and to the sharing of financial

           information between the Government and the Probation

           Office

C. Sentencing Guidelines Calculation
   9. Determination of Sentencing Guidelines. The defendant and
       counsel for both parties agree that the United States Sentencing

       Commission Guidelines, which took effect on November 1, 1987,

       and its amendments (the "sentencing Guidelinss"), will apply to

       the offense or offenses to which the defendant is pleading guilty.
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    The defendant understands rhat the Sentencing Guidelines are

    advisory and not binding on the Court. The defendant further

    agrees that any legal and factual issues relating to the

   application of the Sentencing Guidelines to the defendant's

   conduct, including facts to support any specific offense

   characteristic or other enhancement or adjustment and the

   appropriate sentence within the statutory maximums provided

   for by law, will be determined by the Court after briefing, a pre-

   sentence hearing, or a sentencing hearing.                           I




10. Acceptance of Responsibilitlz- Two/Three Levels. If the

   defendant can adequately demonstrate recognition and

   affirmative acceptance of responsibility to the Government as

   required by the Sentencing Guidelines, the Government will

   recommend that the defendant receive a two- or three-Ievel

   reduction in the defendant's offense level for acceptance of

   responsibility. The third level, if applicable, shall be within the

   discretion of the Government under U.S.S.G. S 3E1.1. The



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   failure of the Court to find that the defendant is entitled to a

   reduction shall not be a basis to void this Agreement.

11. Specific Sentencing Guidelines Recommendations. With respect

   to the application of the Sentencing Guidelines to the

   defendant's conduct, the parties agree to recommend as follows:

   The Base Offense Level for Count 3 is 20 pursuant to U.S.S.G.

   S2K2.t(d(a)G). Each party reserves the right to make
   whatever remaining arguments it deems appropriate with

   regard to application of the United States Sentencing

   Commission Guidelines to the defendant's conduct. The

   defendant understands that any recommendations are not

   binding upon either the Court or the United States Probation

   office, which may make different findings as to the application

   of the Sentencing Guidelines to the defendant's conduct. The

   defendant further understands that the United States will

   provide the Court and the United States Probation Office all

   information in its possession that it deems relevant to the


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       application of the Sentencing Guidelines to the defendant's

       conduct

D. Sentencing Recommendation
   12. Appropriate sentence Recommendation. At the time of

      sentencing, the United States may make a recommendation

      that it considers appropriate based upon the nature and

      circumstances of the case and the defendant's participation in

      the offense, and specifically reserves the right to recommend a

      sentence up to and including the maximum sentence of

      imprisonment and fine allowable, together with the cost of

      prosecution.

   13. Special Conditions of Probation/Supervised Release. If

      probation or a term of supervised release is ordered, the United

      States may recommend that the court impose one or more

      special conditions, including but not limited to the followino:

      cL-   The defendant be prohibited from possessing a firearm or

            other dangerous weapon.


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   b. The defendant make restitution, if appiicable, the payment
        of which shall be in accordance with a schedule to be

        determined by the Court.

        The defendant pay any fine imposed in accordance with a

        schedule to be determined by the Court.

   d. The defendant be prohibited from incurring new credit
       charges or opening additional lines of credit without

       approval of the Probation Office unless the defendant is in

       compliance with the payment schedule.

   e   The defendant be directed to provide the Probation office

       and the United States Attorney access to any requested

       financial information.

   f. The defendant be confined in a community treatment
       center, halfway house, or similar facility.

   g. The defendant be placed under home confinement.
   h. The defendant be ordered to perform community service.



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       1    The defendant be restricted from working in certain types of

            occupations or with certain individuals if the Government

            d"eems such restrictions to be appropriate.

       j.   The defendant be directed to attend substance abuse

            counseling, which may include testing to determine whether

            the defendant is using drugs or alcohol.

       k. The defendant be directed to attend psychiatric or
            psychological counseling and treatment in a program

            approved by the Probation Offi.cer.

       l.   The defendant be denied certain federal benefits including

            contracts, grants, loans, fellowships, and licenses.

       m. The defendant be directed to pay any state or federal taxes
            and file any and all state and federal tax returns as

            required by law.

E. Information Provided to          and Probation Office

   14. Background Information for Probation Office. The defendant

       understands that the United States will provide to the United

       States Probation Office all information in its possession that the
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   United States deems relevant regarding the defendant's

   background, character, cooperation, if &ry, and involvement in

   this or other offenses.

15. Objections to Pre-Sentence Report. The defendant understands

   that pursuant to the United States District Court for the Middle

   District of Pennsylvania's "Policy for Guideline Sentencirg,"

   both the United States and defendant must communicate to the

   Probation Officer within 14 days after disclosure of the pre-

   sentence report any objections they may have as to material

   information, sentencing classifications, applicable Sentencing

   Guidelines ranges, and policy statements contained in or

   omitted from the report. The defendant agrees to meet with the

   IJnited States at least five days prior to sentencing in a good

   faith attempt to resolve any substantive differences. If any

   issues remain unresolved, they shall be communicated to the

   Probation Officer for inclusion in an addendum to the pre-

   sentence report. The defendant agrees that unresolved

   substantive objections will be decided by the Court after
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   briefing, a pre-sentence hearing, or at the sentencing hearing,

   where the standard or proof will be a preponderance of the

   evidence, and the Federal Ru1es of Evidence, other than with

   respect to privileges, shall not apply under F'ed. R. Evid.

   1101(0(3), and the Court may consider any reliable evidence,

   including hearsay. Objections by the defendant to the pre-

   sentence report or the Court's rulings, will not be grounds for

   withdrawal of a plea of guilty.

16. Relevant Sentencins Information. At sentencing, the United

   States will be permitted to bring to the Court's attention, and

   the Court will be permitted to consider, all relevant information

   about the defendant's background, character and conduct,

   including the conduct that is the subject of the charges that the

   United States has agreed to dismiss, and the nature and extent

   of the defendant's cooperation, if any. The United States will be

   entitled to bring to the Court's attention and the Court will be

   entitled to consider any failure by the defendant to fulfill any

   obligation under this Agreement.
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    17. Non-Limitation on Government's Response. Nothing in this

       Agreement shall restrict or limit the nature or content of the

       United States' motions or responses to any motions filed on

       behalf of the defendant. Nor does this Agreement in any way

       restrict the Government in responding to any request by the

       Court for briefing, argument or presentation of evidence

       regarding the application of Sentencing Guidelines to the

       defendant's conduct, including but not timited to, requests for

       information concerning pos sible se nte ncin g dep arture s.

F   Court Not Bound bv PIea          ment

    18. Court Not Bound bv Terms. The defendant understands that

       the Court is not a party to and is not bound by this Agreement,

       or by any recommendations made by the parties. Thus, the

       Court is free to impose upon the defendant any sentence up to

       and including the maximum sentence of imprisonment for 1b

       years, a fine of $250,000, a maximum term of supervised release

       of up to 3 years, which shall be served at the conclusion of and

       in addition to any term of imprisonment, the costs of
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       prosecution, denial of certain federal benefi.ts, and assessments

       totaling $100.

   19. No Withdrawal of Plea Based on Sentence or            commendations.

       If the Court imposes a sentence with which the defendant is

       dissatisfi,ed, the defendant will not be permitted to withdraw

       any guilty plea for that reason alone, nor will the defendant be

       permitted to withdraw any guilty plea should the Court decline

       to follow any recommendations by any of the parties to this

       Agreement

G. Breach of Plea Agreement bv Defendant
   20. Breach of Agreement. In the event the United States believes

       the defendant has failed to fulfill any obligation under this

       Agreement, then the United States sha1l, in its discretion, have

       the option of petitioning the Court to be relieved of its

       obligations under this Agreement. Whether the defendant has

       completely fulfilled all of the obligations under this Agreement

       shall be determined by the Court in an appropriate proceeding,

       during which any disclosures and documents provided by the
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    defendant shall be admissible, and during which the United

    States shall be required to establish any breach by a

    preponderance ofthe evidence. In order to establish any breach

   by the defendant, the United States is entitled to rely on

   statements and evidence given by the defendant during the

   cooperation phase of this Agreement, if any.

21. Remedies for Breach. The defendant and the United States

   agree that in the event the Court concludes that the defendant

   has breached the Agreementl

   a.   The defendant will not be permitted to withdraw any guitty

        plea tendered under this Agreement and agrees not to

        petition for withdrawal of any guilty pleai

   b. The United States will be free to make any
        recommendations to the Court regarding sentencing in this

        casei

   C.   Any evidence or statements made by the defendant during

        the cooperation phase of this Agreement, if ary, will be

        admissible at any trials or sentencingsi
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    d. The United States will be free to bring any other charges it
        has against the defendant, including any charges originally

       brought against the defendant or which may have been

       under investigation at the time of the plea. The defendant

       waives and hereby agrees not to raise any defense to the

       reinstatement of these charges based upon collateral

       estoppel, Double Jeopardy, statute of limitations, assertion

       of Speedy Tria1 rights, or other similar grounds.

22. Yiolatio of Law While Plea or Sente nce Pendins. The

   defendant understands that it is a condition of this Agreement

   that the defendant refrain from any further violations of state,

   local, or federal law while awaiting plea and sentencing. The

   defendant acknowledges and agrees that if the Government

   receives information that the defendant has committed new

   crimes while awaiting plea or sentencing in this case, the

   Government may petition the Court and, if the Court finds by a

   preponderance of the evidence that the defendant has

   committed any other criminal offense while awaiting plea or
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       sentencing, the Government shall be free at its sole election to

       either: (a) withdraw from this Agreementi or (b) make any

       sentencing recommendations to the Court that it deems

       appropriate. The defendant further understands and agrees

       that, if the Court finds that the defendant has committed any

       other offense while awaiting plea or sentencing, the defendant

       will not be permitted to withdraw any guilty pleas tendered
       pursuant to this Agreement, and the government will be

       permitted to bring any additional charges that it may have

       against the defendant.

H. Deportation
   23. Den orta ri    moval from the United States The defendant

       understands that, if defendant is not a United States cltizen,

       deportation/removal from the United States is a consequence of

       this plea. The defendant further agrees that this matter has

       been discussed with counsel who has explained the immigration

       consequences of this plea. The defendant still desires to enter

       into this plea after having been so advised
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I. Appeal Waiver
   24. Appea1 Waiver - Direct. The defendant is aware that Title 28,

      United States Code, S 1291 affords a defendant the right to

      appeal a judgment of conviction and sentencei and that Titte 18,

      United States Code, $ 3742(d affords a defendant the right to

      appeal the sentence imposed. Acknowledging all of this, the

      defendant knowingly waives the right to appeal the conviction

      and sentence. This waiver includes any and all possible

      grounds for appeal, whether constitutional or non-

      constitutional, including, but not limited to, the manner in

      which that sentence was determined in light of [Jnited States v.

      Booker,543 U.S. 220 (2005). The defendant further

      acknowledges that this appeal waiver is binding only upon the

      defendant and that the United States retains its right to appeal

      in this case.

  25. Collateral Appeal Waiver. The defendant acknowledges,

      understands and agrees that, by pleading guilty pursuant to

      this Agreement, the defendant voluntarily and knowingly
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   waives the right to collaterally attack the defendant's

   conviction, sentence, or any other matter relating to this

   prosecution, including but not limited to a motion to vacate

   judgment under Title 28, United States Code, Section 2255i a

   petition for a writ of habeas corpus under Title 28, United

   States Code, Section 2241; or any other motion or writ seeking

   collateral relief. However, no provision of this agreement shall

   preclude the defendant from pursuing in an appropriate forum

   any appeal, collateral attack, writ, or motion claiming that the

   defendant received constitutionally ineffective assistance of

   counsel. In the event the defendant raises a claim of ineffective

   assistance of counsel, the defendant hereby agrees (d that the

   Government retains its right to oppose any such claim on

   procedural or substantive groundsi and (b) that counsel for the

   United States may confer with any of the defendant's prior

   counsel whose performance is attacked in such a claim, for

   purposes of preparing any response or for any hearing

   necessitated by the filing of such a c1aim.
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26. Appeal Waiver Breach. The defendant acknowledges that

   pursuing a direct appeal or any collateral attack waived in the

   preceding paragraph(s) may constitute a breach of this

   Agreement. The Government agrees that the mere filing of a

   notice of appeal is not a breach of the Agreement. The

   Government may declare a breach only after the defendant or

   the defendant's counsel thereafter states, either orally or in

   writing, a determination to proceed with an appeal or collateral

   attack raising an issue the Government deems barred by the

   waiver. The parties acknowledge that the pursuit of an appeal

   or any collateral attack constitutes a breach only if a court

   determines that the appeal or collateral attack does not present

   an issue that a judge may reasonably conclude is permitted by

   an exception to the waiver stated in the preceding paragraph(s)

   or constitutes a "miscarriage of justice" as that term is defined

   in applicable law.




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J. Other Provisions
   27. Aereement Not Binding on other Agencies. Nothing in this

       Agreement shall bind any other United States Attorney's office,

       state prosecutor's office, or federal, state, or iocal law

       enforcement agency.

   28. No Civil Claims or Suits. The defendant agrees not to pursue or

      initiate any civil claims or suits against the United States of

      America, its agencies or employees, whether or not presently

      known to the defendant, arising out of the investigation,

      prosecution or cooperation, if &try, covered by this Agreement,

      including but not limited to any claims for attorney's fees and

      other litigation expenses arising out of the investigation and

      prosecution of this matter. By the defendant's guilty plea in

      this matter the defendant further acknowledges that the

      Government's position in this litigation was taken in good faith,

      had a substantial basis in law and fact and was not vexatious.

   29. PleaAereement Se rves Ends of Justice . The United States is

      entering this Agreement with the defendant because this
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    disposition of the matter fairly and adequately addresses the

    gravity of the offense(s) f"om which the charge(s) is/are drawn,

   as well as the defendant's role in such offense(s), thereby

   serving the ends of justice.

30. Merger of All Prior Negotiations. This document states the

   complete and only Agreement between the United States

   Attorney for the Middle District of Pennsylvania and the

   defendant in this case, and is binding only on the parties to this

   Agreement and supersedes aII prior understandings or plea

   offers, whether written or oral. This agreement cannot be

   modified other than in writing that is signed by all parties or on

   the record in court. No other promises or inducements have

   been or will be made to the defendant in connection with this

   case, nor have any predictions or threats been made in

   connection with this plea. Pursuant to Rule 11 of the Federal

   Rules of Criminal Procedure, the defendant certifies that the

   defendant's plea is knowing and voluntary and is not the result



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    of fbrce or threats or promises apart from those promises set

    forth in this Agreement.

31. Defendant is Satisfied with Assistance of Counsel. The

    Defendant agrees that the defendant has discussed this case

    and this Agreement in detail with the defendant's attorney, who

    has advised the defendant of the defendant's Constitutional and

    other trial and appellate rights, the nature of the charges, the

    elements of the offenses the United States would have to prove

    at trial, the evidence the United States would present at such

    trial, possible defenses, the advisory Sentencing Guidelines and

   other aspects of sentencing, potential losses of civil rights and

   privileges, and other potential consequences of pleading guitty

   in this case. The defendant agrees that the defendant is

   satisfied with the legal services and advice provided to the

   defendant by the defendant's attorney

32. Deadline for Acceptance of Plea Agreement. The original of this

   Agreement must be signed by the defendant and defense

   counsel and received by the United States Attorney's Office on
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          or before 5:00 p.D., (TBD), 2O2b, otherwise the offer Day, in the

          sole discretion of the Government, be deemed withdrawn.

    33. Required Signatures. None of the terms of this Agreement shall

          be binding on the office of the United States Attorney for the

          Middle District of Pennsylvania until signed by the defendant

          and defense counsel and then signed by the United States

          Attorney or his designee.

                           AC                    NTS

     I have read this agreement and carefully reviewed every part of it
with my attorney. I fully understand it and I voluntarily agree to it.

   ({
Date                                                     o      R
                                            Defendant

        I am the defendant's counsel. I have carefully reviewed every part
of this agreement with the defendant. To my knowledge, my client's
de ro to enter IN to this agreement is            and voluntary one.


Date                                        CHARLES WITACONIS, ESQ.
                                            Counsel for Defendant




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                                               JOHN C. GURGANUS
                                               Acting United States Attorney


         f,o                            By:
                                               J             BUCHANAN
                                                           IJnited States Attorney

JMB / 202 4B00393/March 23, 2025
\GRSION DATE: March 8,2021




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